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                                      United States District Court
                                                 WESTERN DISTRICT OF TEXAS
                                                       ANTONIO DIVISION
                                                   SAN ANTONIO

 UNITED STATES OF AMERICA
                                                                             Case Number: 5:19-CR-00905-DAE(2)
 v.                                                                          USM Number: 44358-480

 NANCY ALMAGUER
Nancy Ibarrola-Garcia, Nancy Ibarrola,
Nancy Almaguer Guerrero, Nancy A. Guerrero,
Nancy Guerrero Almaguer
        Defendant.

                                          JUDGMENT IN A CRIMINAL CASE
                                   (For Offenses Committed On or After November 1, 1987)

         The defendant, NANCY ALMAGUER, was represented by Alan Brown, Esq.

         On a motion of the United States, the Court dismissed the remaining counts as to this defendant.

        The defendant pled guilty to Counts One (1) of the Indictment on September 9, 2021. Accordingly, the defendant is
adjudged guilty of such Count, involving the following offense:

       Title & Section                         Nature of Offense                        Offense Ended                     Count

                                    Conspiracy to Defraud the United States
        18 U.S.C. § 371              by Paying and Receiving Healthcare                   06/30/2019                     One (1)
                                                  Kickbacks


         As pronounced on November 29, 2021, the defendant is sentenced as provided in pages 2 through 7 of this Judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984.

         It is further ordered that the defendant shall notify the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant must notify the Court and United States Attorney of material changes in economic
circumstances.

         Signed this 15th day of December, 2021.




                                                                                           David A. Ezra
                                                                                   Senior United States District Judge
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DEFENDANT:                NANCY ALMAGUER
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                                                        IMPRISONMENT

         The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of
eighteen (18) months as to count one (1) with credit for time served while in custody for this federal offense pursuant to 18 U.S.C. §
3585(b).

        The defendant shall self-surrender on January 10, 2022 at 2:00pm local time. The U.S. Pretrial Services shall notify the
defendant of the facility to self-surrender.




                                                            RETURN

I have executed this judgment as follows:




        Defendant delivered on                                     to

at                                      , with a certified copy of this judgment.



                                                                                        UNITED STATES MARSHAL



                                                                                                 By
                                                                                    DEPUTY UNITED STATES MARSHAL
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                                                  SUPERVISED RELEASE

        Upon release from imprisonment, the defendant shall be on supervised release a term of three (3) years as to count one (1).

         While on supervised release the defendant shall comply with the mandatory, standard and if applicable, the special conditions
that have been adopted by this Court, and shall comply with the following additional conditions:

          a)   The defendant shall provide the probation officer with access to any requested financial information and
               authorize the release of any financial information. The probation office may share financial information with
               the U.S. Attorney’s Office.

          b)   The defendant and Christopher Montoya shall jointly and severally pay restitution that is imposed by this
               judgment that remains unpaid at the commencement of the term of supervised release.

          c)   The defendant shall pay all taxes, back taxes, penalties, and interest due and owed to the Internal Revenue
               Service. The defendant shall comply with all IRS reporting and financial obligations and provide proof of
               meeting all IRS obligations to her U.S. Probation Officer as requested.

          d) If the defendant is unable to pay the Special assessment and Restitution immediately, the defendant shall pay
             the entire amount of the Special assessment and Restitution at the rate of no less than $100 per month, due by
             the third day of each month beginning upon the commencement of supervision. The Court imposed payment
             schedule shall not prevent statutorily authorized collection efforts by the U.S. Attorney. The defendant shall
             cooperate fully with the U.S. Attorney and the U.S. Probation Office to make payment in full as soon as
             possible.
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                                              CONDITIONS OF SUPERVISION
Mandatory Conditions:

     1. The defendant shall not commit another federal, state, or local crime during the term of supervision.

    2. The defendant shall not unlawfully possess a controlled substance.

    3. The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test
       within 15 days of release on probation or supervised release and at least two periodic drug tests thereafter (as determined by
       the court), but the condition stated in this paragraph may be ameliorated or suspended by the court if the defendant’s
        presentence report or other reliable sentencing information indicates low risk of future substance abuse by the defendant.

    4. The defendant shall cooperate in the collection of DNA as instructed by the probation officer, if the collection of such a sample
        is authorized pursuant to section 3 of the DNA Analysis Backlog Elimination Act of 2000 (42 U.S.C. § 14135a).

    5. If applicable, the defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (34
        U.S.C. § 20901, et. seq.) as instructed by the probation officer, the Bureau of Prisons, or any state sex offender registration
        agency in which the defendant resides, works, is a student, or was convicted of a qualifying offense.

    6. If convicted of a domestic violence crime as defined in 18 U.S.C. § 3561(b), the defendant shall participate in an approved
        program for domestic violence.

    7. If the judgment imposes restitution, the defendant shall pay the ordered restitution in accordance with 18 U.S.C. §§ 2248,
        2259, 2264, 2327, 3663, 3663A, and 3664. (if applicable)

    8. The defendant shall pay the assessment imposed in accordance with 18 U.S.C. § 3013.

    9. If the judgment imposes a fine, it is a condition of supervision that the defendant pay in accordance with the Schedule of
        Payments sheet of the judgment.

     10. The defendant shall notify the court of any material change in the defendant’s economic circumstances that might affect the
         defendant’s ability to pay restitution, fines or special assessments.


Standard Conditions:

     1) The defendant shall report to the probation office in the federal judicial district where he or she is authorized to reside within
        seventy-two (72) hours of release from imprisonment, unless the probation officer instructs the defendant to report to a
        different probation office or within a different time frame.

    2) After initially report to the probation office, the defendant will receive instructions from the court or the probation officer about
       how and when to report to the probation officer, and the defendant shall report to the probation officer as instructed.

    3) The defendant shall not knowingly leave the federal judicial district where he or she is authorized to reside without first getting
       permission from the court or the probation officer.

    4) The defendant shall answer truthfully the questions asked by the probation officer.

    5) The defendant shall live at a place approved by the probation officer. If the defendant plans to change where he or she lives
       or anything about his or her living arrangements (such as the people the defendant lives with), the defendant shall notify the
       probation officer at least ten (10) days before the change. If notifying the probation officer in advance is not possible due to
       unanticipated circumstances, the defendant shall notify the probation officer within seventy-two (72) hours of becoming aware
       of a change or expected change.

    6) The defendant shall allow the probation officer to visit the defendant at any time at his or her home or elsewhere, and the
       defendant shall permit the probation officer to take any items prohibited by the conditions of the defendant’s supervision that
       are observed in plain view..

    7) The defendant shall work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
       excuses the defendant from doing so. If the defendant does not have full-time employment, he or she shall try to find full-time
       employment, unless the probation officer excuses the defendant from doing so. If the defendant plans to change where the
       defendant works or anything about his or her work (such as the position or job responsibilities), the defendant shall notify the
       probation officer at least ten (10) days before the change. If notifying the probation officer at least ten (10) days in advance is
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       not possible due to unanticipated circumstances, the defendant shall notify the probation officer within seventy-two (72) hours
       of becoming aware of a change or expected change.

   8) The defendant shall not communicate or interact with someone the defendant knows is engaged in criminal activity. If the
      defendant knows someone has been convicted of a felony, the defendant shall not knowingly communicate or interact with
      that person without first getting the permission of the probation officer.

   9) If the defendant is arrested or questioned by a law enforcement officer, the defendant shall notify the probation officer within
      seventy-two (72) hours.

    10) The defendant shall not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon
       (i.e., anything that was designed, or was modified, for the specific purpose of causing bodily injury or death to another person
       such as nunchakus or tasers).

    11) The defendant shall not act or make any agreement with a law enforcement agency to act as a confidential human source or
       informant without first getting the permission of the court.

    12) If the probation officer determines that the defendant poses a risk to another person (including an organization), the probation
       officer may require the defendant to notify the person about the risk and the defendant shall comply with that instruction. The
       probation officer may contact the person and confirm that the defendant has notified the person about the risk.

    13) The defendant shall follow the instructions of the probation officer related to the conditions of supervision.

    14) If the judgment imposes other criminal monetary penalties, it is a condition of supervision that the defendant pays such
       penalties in accordance with the Schedule of Payments sheet of the judgment.

    15) If the judgment imposes a fine, special assessment, restitution, or other criminal monetary penalties, it is a condition of
       supervision that the defendant shall provide the probation officer access to any requested financial information.

    16) If the judgment imposes a fine, special assessment, restitution, or other criminal monetary penalties, it is a condition of
       supervision that the defendant shall not incur any new credit charges or open additional lines of credit without the approval of
       the probation officer, unless the defendant is in compliance with the payment schedule.

    17) If the defendant is excluded, deported, or removed upon release on probation or supervised release, the term of supervision
       shall be a non-reporting term of probation or supervised release. The defendant shall not illegally re-enter the United States.
       If the defendant is released from confinement or not deported, or lawfully re-enters the United States during the term of
       probation or supervised release, the defendant shall immediately report to the nearest U.S. Probation Officer.
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                                                   CRIMINAL MONETARY PENALTIES/SCHEDULE

              The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of payments set
     forth. Unless the Court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
     penalties is due during imprisonment. Criminal Monetary Penalties, except those payments made through Federal Bureau of Prisons’
     Inmate Financial Responsibility Program shall be paid through the Clerk, United States District Court, 655 E. Cesar E. Chavez Blvd,
     Room G65, San Antonio, TX 78206 or online by Debit (credit cards not accepted) or ACH payment (direct from Checking or Savings
     Account) through pay.gov (link accessible on the landing page of the U.S. District Court’s Website). Your mail-in or online
     payment must include your case number in the exact format of DTXW519CR00905-002 to ensure proper application to our
     criminal monetary penalty. The defendant shall receive credit for all payments previously made toward any criminal monetary
     penalties imposed.

                                                                                Assessment                                               Fine                                  Restitution
       TOTALS                                                                      $100.00                                               $.00                                  $52,604.52

                                                                                SPECIAL ASSESSMENT

             It is ordered that the defendant shall pay to the United States a special assessment of $100.00. Payment of this sum shall
     begin immediately.

                                                                                               FINE

                  The fine is waived because of the defendant’s inability to pay.


                                                              RESTITUTION- JOINTLY AND SEVERALLY

              The defendant shall pay restitution in the amount of $52,604.52 through the Clerk, U.S. District Court, for distribution to the
     payees. Payment of this sum shall begin immediately. Defendant Nancy Almaguer will owe the victims jointly and severally with co­
     defendant, Christopher Montoya (1) – 5:19-cr-905-001. No further payment shall be required after the sum of the amounts actually paid
     by the defendants have fully covered all compensable injuries.

              The Court directs the United States Probation Office to provide personal identifier information of victims by submitting a
     "reference list'' under seal Pursuant to E-Government Act of 2002'' to the District Clerk within ten (10) days after the criminal Judgment
     has been entered.

     Name of Payee                                                                                                                 Amount of Restitution

     Medicare                                                                                                                                  $46,651.89

     TRICARE                                                                                                                                   $5,952.63


           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in the priority order or
percentage payment column above. However, pursuant to 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United States is paid.
            If the fine is not paid, the court may sentence the defendant to any sentence which might have been originally imposed. See 18 U.S.C. §3614.
           The defendant shall pay interest on any fine or restitution of more than $2,500.00, unless the fine or restitution is paid in full before the fifteenth day after the date of the
judgment, pursuant to 18 U.S.C. §3612(f). All payment options may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. §3612(g).
             Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) community restitution, (6) fine
interest, (7) penalties, and (8) costs, including cost of prosecution and court costs.
            Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after September 13, 1994,
but before April 23, 1996.
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                                                        FORFEITURE

       The defendant is ordered to forfeit the following property to the United States:

       1)   $137,792.10, More or Less, in United States Currency in lieu of the Real Property located and situated at 3701 Menger,
            San Antonio, Bexar County, Texas
